Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 1 of 33




                                                    12-cv-2067 CM/KMH
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 2 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 3 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 4 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 5 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 6 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 7 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 8 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 9 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 10 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 11 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 12 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 13 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 14 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 15 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 16 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 17 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 18 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 19 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 20 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 21 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 22 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 23 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 24 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 25 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 26 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 27 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 28 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 29 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 30 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 31 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 32 of 33
Case 2:12-cv-02067-CM-KMH   Document 1   Filed 02/03/12   Page 33 of 33
